            Case 2:11-cr-00096-DC Document 277 Filed 06/09/14 Page 1 of 2


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5    Attorney for Defendant
     DIANA HERNANDEZ-GONZALEZ
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8
                       IN THE UNITED STATES DISTRICT COURT
9
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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     ________________________________
11
     UNITED STATES OF AMERICA,                         2:11-cr-0096-JAM
12                     Plaintiff,
                                                       APPLICATION TO EXTEND TIME TO
13   vs.                                               SURRENDER TO COMMENCE
                                                       SENTENCE AND ORDER
14   DIANA HERNANDEZ-GONZALEZ,
                       Defendant.                      Judge: John A. Mendez
15   _________________________________

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17         Defendant, Diana Hernandez-Gonzalez, hereby makes application to the

18   Court for an order extending the time for her to self-surrender to the Bureau

19   of Prisons facility at Victorville, California.    The current date scheduled

20   for surrender is June 12, 2014.    Ms. Hernandez is requesting a surrender date

21   of August 22, 2014.   The additional time is needed for the defendant to

22   enroll her children in a day-care program.    Defense counsel has spoken with

23   the Site Supervisor at the Volunteers of America in North Hollywood, who

24   confirmed that the programs for which the children will be enrolled do not

25   commence until July 1st for three of them, and August 19th for the youngest.

26   Letters substantiating the above are attached hereto.

27         The undersigned has sought and obtained the approval of Asst. U.S.

28   Attorney Paul Hemeseth and Pretrial Services to the above-stated request.



                                        [Pleading Title] - 1
              Case 2:11-cr-00096-DC Document 277 Filed 06/09/14 Page 2 of 2


1          Accordingly, it is requested that the self-surrender date be extended

2    to August 22, 2014.     All other conditions of release are to remain in full

3    force.

4    Dated:   June 6, 2014
                                            Respectfully submitted,
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                                                /s/Hayes H. Gable, III
7                                           HAYES H. GABLE, III
                                            Attorney for Defendant
8                                           DIANA HERNANDEZ-GONZALEZ

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                                            ORDER
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           Based upon the foregoing application and the agreement of the
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     government and pretrial services, and good cause appearing, the Court grants
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     the defendant’s request that the self-surrender date, currently set for June
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     12, 2014, be extended to August 22, 2014.      All other conditions of release
14
     are to remain in full force.
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           IT IS SO ORDERED.
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           DATED:   6/6/2014
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                                                    /s/ John A. Mendez________
18                                                  JOHN A. MENDEZ
                                                    U.S. District Court Judge
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                                        [Pleading Title] - 2
